            Case 19-42886          Doc 141        Filed 01/08/20 Entered 01/08/20 15:42:08
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                                                                                                           01/08/2020
                                      IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE EASTERN DISTRICT OF TEXAS
                                                  SHERMAN DIVISION

            In re:                                                        § Chapter 11
                                                                          §
            ZENERGY BRANDS, INC., et al.,1                                § Case No. 19-42886
                                                                          §
                              Debtors.                                    § (Jointly Administered)

                                 ORDER GRANTING AGREED MOTION
                      TO EXTEND (I) RULE 2004 DOCUMENT PRODUCTION DEADLINE
                                     AND (II) CHALLENGE PERIOD


                   The Court, having considered the Agreed Motion to Extend (I) Rule 2004 Document

        Production Deadline and (II) Challenge Period (the “Motion”)2 and considered all other evidence

        presented, and finding that good cause exists,

                   IT IS THEREFORE ORDERED that the Motion is GRANTED.

                   IT IS FURTHER ORDERED that the deadline for the Debtors to produce all required

        documents shall be continued through noon CST on January 8, 2020.

                   IT IS FURTHER ORDERED that the Challenge Period Deadline shall be continued from

        February 10, 2020 through March 2, 2020.

                                                                             Signed on 1/8/2020

                                                                                                                    SR
                                                                 HONORABLE BRENDA T. RHOADES,
                                                                 UNITED STATES BANKRUPTCY JUDGE


        1
          The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC
        (8045); Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC (8649); Zenergy & Associates, Inc. (4022); and
        Zen Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Grante Pkwy, #200, Plano,
        TX 75024.
        2
            All capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.




4842-9220-2671.2
